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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION

     UNITED STATES, et al.,



           VS.
                                                              No. 1:23-cv-00108-LMB-JFA
     GOOGLE LLC,

                            Defendant.


                               DECLARATION OF NICK ALVAREZ

          I, Nick Alverez, declare as follows:

          1.      I am employed by Justice Serves as a process server.

          2.      The facts in this declaration are based on my personal knowledge.

          3.      The law firm Paul, Weiss, Rifkind, Wharton & Garrison LLP ("Paul, Weiss")

   retained me to deliver an envelope to:

                 Walt Cain
                 Executive Officer, Antitrust Division
                 U.S. Department of Justice
                 Liberty Square Building
                 450 5th Street, NW, Suite 3000
                 Washington, D.C.

          4.     On the morning of May 16, 2024, I picked up from Paul, Weiss an envelope

   addressed to Mr. Cain.

          5.     I arrived at the Department of Justice ("DOJ") at about 10:20 a.m. that morning

   and spoke to a security guard who told me that, in order to deliver a package, I would need to

   call a DOJ point of contact to accept the package. I had phone numbers for Mr. Cain, as well as

   the general phone number for the Executive Office. When I called Mr. Cain's number, the call

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   went into voicemail, and I left him a voicemail informing him that I was at the building and had

   a package to deliver to him. He did not respond to my message. I also tried the general number,

   which appeared to be busy or disconnected. I tried both numbers at least two more times.

          6.      I then contacted the DOJ switchboard operator to try to obtain additional numbers

   for the Executive Office, and the switchboard operator connected me to multiple numbers within

   the Antitrust Division, but no one answered. I left a message at each of the numbers that went

   into voicemail, explaining that I was trying to deliver a package to the Executive Office.

          7.      I then searched online for additional phone numbers at the Antitrust Division, and

   found an old DOJ directory. I found a number for what was listed as the Litigation Section of

   the Antitrust Division (202-307-0001). I called the number, and a woman named Denise

   answered. I explained that I was trying to deliver a package to Mr. Cain of the Executive Office

   of the Antitrust Division. She told me that she needed to ask for authorization to accept delivery,

   but that she would call me back.

          8.      A few minutes later, Denise called me back and informed me she had

   authorization to accept the delivery and that she would be down in a few minutes.

          9.      Denise met me in the entryway of the Liberty Square Building and introduced

   herself as Denise Lattimore, and told me that she was Head Secretary of the HCP and that she

  was authorized to accept delivery, and that she would hand-deliver the package to Mr. Cain.

          10.     I gave Ms. Lattimore the envelope, and asked her if she would sign a form

  acknowledging receipt. The form that Ms. Lattimore signed is attached as Exhibit 1.

          I declare under the penalty of perjury that the foregoing is true and correct.

          Executed this 16th day of May, 2024 in Washington, D.


                                                        Nick Alv ez
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                  Exhibit 1
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      Date:               May 16, 2023

      Delivery to:        U.S. Department of Justice

                          Liberty Square Building

                          450 Stn Street, N.W., Suite 3000

                          Washington, D.C. 20530

      From:               Paul, Weiss, Rifkind, Wharton & Garrison LLP

                          2001 K Street, N.W.

                          Washington, D.C. 20006

       Delivered by:      Nikolas Alvarez



       Delivery Accepted By   Name:
                                                             aif; tvvove


                              Title:

                                                       s ec /1--KP

                              Signature
